Case 7:19-cv-08100-CS Document 28 Filed 01/06/20 Page 1of3
Case 7:19-cv-08100-CS Document 21 Filed 11/27/19 Page 1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK. _

 

 

TRUSTEES OF THE NATIONAL RETIREMENT
FUND,

Plaintiffs,
19-ev-08100 (CS)
-against-
DEFAULT JUDGMENT
SHUBH HOTELS DETROIT, LLC and JOHN DOES 1-
10 (all other trades or businesses under common control
with SHUBH HOTELS DETROIT, LLC),

Defendants.

 

 

 

This action having been commenced on August 29, 2019 by filing of a Complaint, and
Plaintiffs Trustees of the National Retirement Fund (“Plaintiffs”) having served copies of the
Summons and Complaint upon Shubh Hotels Detroit, LLC (“Defendant Shubh”), a Florida
limited liability company, on October 23, 2019 by personal service upon Jane Carlene Rankin,
Esq., Registered Agent authorized to receive service, and proof of such service having been filed
with the Court on November 4, 2019, and Defendant Shubh not having appeared, answered, or
otherwise moved with respect to the Complaint, and the time for appearing, answering or moving
having expired, and the Court having issued its Order to Show Cause requiring Defendant Shubh
to show cause before the Court why a Default Judgment should not be entered against Defendant —
Shubh, and the Court having held a hearing pursuant to the Order to Show Cause, and Defendant

Shubh having failed to appear at the show cause hearing; it is

 
Case 7:19-cv-08100-CS Document 28 Filed 01/06/20 Page 2 of 3
Case 7:19-cv-08100-CS Document 21 Filed 11/27/19 Page 2 of 3

NOW, THEREFORE, upon application of the Plaintiffs and upon reading the Affidavits
of David C. Sapp, Esq., duly sworn the 26" day of November 2019, and the Certificate of Ruby
J. Krajick, Clerk of Court, United States District Court for the Southern District of New York,
noting the default of Defendant Shubh, for failure to appear, answer or otherwise move with
respect to the Complaint, it is hereby,

ORDERED, ADJUDGED AND DECREED, that Plaintiffs have Judgment against
Defendant Shubh for withdrawal liability in the principal amount of $568,443.00 with interest
thereon computed in accordance with 29 U.S.C. §1132(g)(2), the regulations of the Pension
Benefit Guaranty Corporation and the Plaintiff Fund’s rules and regulations with respect to
employer withdrawal liability from January 1, 2019, the date of the first missed quarterly
withdrawal liability payment, through the date of judgment in the amount of $62,528.73,
liquidated damages pursuant to 29 U.S.C, §1132(g)(2) and the Plaintiff Fund’s rules and
regulations with respect to employer withdrawal liability in the amount of $113,688.60, and costs
in the amount of $400.00, for a total Judgment in the amount of $745,060.33; and it is further

ORDERED, ADJUDGED AND DECREED, that Plaintiffs have Judgment against
Defendant Shubh permanently restraining and enjoining Defendant Shubh and all of its officers,
employees, agents, representatives, and all persons acting in concert with them from distributing,
alienating, transferring, assigning, encumbering or otherwise disposing of the assets of
Defendant Shubh, regardless of the amounts, if any, or the nature of the consideration received

therefore; and it is further

 
Case 7:19-cv-08100-CS Document 28 Filed 01/06/20 Page 3 of 3
Case 7:19-cv-08100-CS Document 21 Filed 11/27/19 Page 3 of3

ORDERED, ADJUDGED AND DECREED that interest shall continue to accrue on the

amount due under this Judgment at the legal rate as defined in 28 U.S.C. §1961 from the date of

 

 

 

entry of this Judgment on , 2019 until the Judgment is fully satisfied.
Dated: | [ 3 20
White Plaihs, New York
SO ORDERED:
Honorable Cathy Seibel

United States District Judge
